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                          UNITED STATES DISTRICT COURT
                                  DISTRICT O F N EV AD A

UNITED STATESOF AMERICA,                     )
                                             )
                     Plaintiff,              )
                                             )
                                             )       2:10-CR-356-LDG (VCF)
                                             )
 CARSON W INGET,                             )
                                             )
                     Defendant.              )
                                  ORDER OF FORFEITURE
        This Courtfound on October 27,2011,that CARSON W INGET shallpay a criminal

 forfeituremoneyjudgmentof$490,000.00 in United StatesCurrency,pursuanttoFed.R.Crim.P.
 32.2(b)(1)and(2),Title18,UnitedStatesCode,Section982(a)(2)(A);Titlel8,UnitedStatesCode,
 Section981(a)(1)(C)andTitle28,United StatesCode,Section2461(c);andTitle21,UnitedStates
 Code,Section 853û9.(OrderofForfeiture,ECFNt).202)
        THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DFf u ED thattheunited
 Statesrecoverfrom CARSON W INGET a criminalforfeiture moneyjudgmentin theamountof
 $490,000.00inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title18,
 United StatesCode,Section 982(a)(2)(A);Title18,United StatesCode,Section 981(a)(1)(C)and
 Title28,UnitedStatesCode,Section246l(c);andTitle21,United StatesCode,Section853(p).
        DATED this          day of                   ,2012.
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